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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

MATTHEW ZETTLE,                              )
                                             )
                      Plaintiff,             )
v.                                           )      No. 2019 CV 3057
                                             )      Hon. Judge Rowland
FAKHOURI, et al.,                            )
                                             )
                      Defendants.            )



                                    NOTICE OF SERVICE

TO:    Michael Leonard
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       I, Robert S. Fakhouri, certify that on September 30, 2019, I caused to be served the
attached Defendants’ Responses to Initial Mandatory Discovery Requests to the above-
referenced counsel of record in the above captioned matter via electronic mail.


                                     Respectfully submitted,

                                       THE FAKHOURI FIRM, LLC

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